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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       vs.                                   )              Case Number: CR 05 1849 JH
                                             )
DENNIS WILSON, et al.,                       )
                                             )
               Defendants.                   )

            MOTION TO DISMISS INDICTMENT, OR IN THE ALTERNATIVE,
                    A MOTION FOR A BILL OF PARTICULARS

       The Defendant, Dennis Wilson, by his attorney, Robert J. Gorence, Esq. of Gorence &

Oliveros, P.C., respectfully requests the Court dismiss the indictment in this matter. As grounds

for this motion, Defendant states:

       1.      The original indictment was returned in this matter on August 23, 2005. Mr.

Wilson was not named in the original indictment.

       2.      The superceding indictment was returned in this matter on April 25, 2006.

       3.      Count One of the superceding indictment alleges conspiracy charges against Mr.

Wilson. Specifically, the superceding indictment alleges as follows in Count 1:

       From approximately 1990, the precise date being unknown to the Grand Jury, up
       to and including August 25, 2005, in the State and District of New Mexico, and
       elsewhere, the defendants....DENNIS WILSON a/k/a “Big Dennis,”.... did
       unlawfully, knowingly and intentionally combine, conspire, confederate and agree
       with each other and with other persons whose names are known and unknown to
       the grand jury to distribute 1000 kilograms and more of marijuana....

       The information included in The Manner and Means of the Conspiracy with respect to

Mr. Wilson is limited to the following allegations:


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          Generally, the bulk marijuana was transported by members of the conspiracy,
          including defendants Russell Trujillo, Lloyd Montoya, and Dakota Fitzner, from
          the Tucson area to New Mexico where it was stored at additional stash houses
          maintained by Dana Jarvis and/or other members of the conspiracy, including
          defendants Mary Cannant, Dakota Fitzner, and Dennis Wilson.

Superceding Indictment, Doc. 414 at p. 2 (emphasis added). Other than the above-cited

allegations and the those in the forfeiture count, Mr. Wilson’s name is absent from the remainder

of the superceding indictment.

          4.     Further, the superceding indictment fails to specify a single act on the part of Mr.

Wilson during the applicable statute of limitations. Although an overt act is not required to be

alleged in a 21 U.S.C. § 846 conspiracy, in this particular case, there is no evidence to establish

that Mr. Wilson wilfully associated himself with his alleged co-conspirators, nor committed any

act in furtherance of the conspiracy, within the applicable period of limitations.

          5.     Due to the nature of this motion, concurrence of the government has not been

sought.

                                            ARGUMENT

          The crime of conspiracy charged under 21 U.S.C. § 846 is subject to a five year statute of

limitations period. See 18 U.S.C. § 3282. To determine the statute of limitations in conspiracy

cases, the court is to use the date of the last overt act in furtherance of the conspiracy. See Local

Lodge No. 1424 v. N.L.R.B., 362 U.S. 411, 423 n. 15, 809 S.Ct. 822, 4 L.Ed.2d 832 (1960). The

Fifth Amendment does not allow the government to prosecute a charge of conspiracy based on

conduct that falls within the statue of limitations pursuant to an indictment that charges only

conduct that is barred by the statue of limitations. United States v. Stoner, 98 F.3d 527, 533 (10th

Cir. 1996)(J. Briscoe, dissenting), equally divided en banc, 139 F.3d 1343 (10th Cir. 1998).


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Prosecutions based on indictments that do not allege that conduct constituting the conspiracy

occurred within the statue of limitations infringe on a defendant’s Fifth Amendment right to be

convicted on facts found by a grand jury. See U.S. CONST. AMEND. V; Russell v. United States,

369 U.S. 749, 760, 82 S.Ct. 1038, 1045, 8 L.Ed. 2d 240 (1962).

       Similarly, an indictment lacking any allegation that the conspiracy offense was

committed within the limitations period infringes a defendant’s Sixth Amendment right “to be

clearly informed of the nature and the cause of the accusation against [her].” See Nevius v.

Sumner, 852 F.2d 463, 471 (9th Cir.1988), cert. denied, 490 U.S. 1059, 109 S.Ct. 1972, 104

L.Ed.2d 441 (1989); see also U.S. CONST. AMEND. VI. Consequently, a defendant who is

confronted with untimely conspiracy allegations should not be required to guess what timely

offenses the government will subsequently allege at trial. Stoner, 98 F.3d at 533. Providing

adequate notice to the defendant is of particular concern in prosecutions involving the somewhat

amorphous crime of conspiracy. Cf. Krulewitch v. United States, 336 U.S. 440, 445-47, 69 S.Ct.

716, 719-20, 93 L.Ed. 790 (1949) (Jackson, J., concurring) (describing conspiracy as an “elastic,

sprawling and pervasive offense,” as being “so vague that it almost defies definition,” and as

“chameleon-like [because it] takes on a special coloration from each of the many independent

offenses on which it may be overlaid”); Harrison v. United States, 7 F.2d 259, 263 (2d Cir.1925)

(referring to conspiracy as the “darling of the modern prosecutor’s nursery”); Wayne R. LaFave

& Austin W. Scott, Jr., CRIMINAL LAW § 6.4(b), at 526 (2d ed. 1986) (“[I]t is clear that a

conspiracy charge gives the prosecution certain unique advantages and that one who must defend

against such a charge bears a particularly heavy burden.”). Accordingly, an indictment must




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allege that the conduct constituting the conspiracy fell within the statue of limitations, and an

indictment that does not contain such allegations is subject to dismissal. Stoner, 98 F.3d at 533.

       Because the superceding indictment in this case fails to allege any specific act involving

Mr. Wilson within the statute of limitations period, the indictment should be dismissed. In a

non-overt-act conspiracy charge, the indictment satisfies the requirements of the statue of

limitations only if the government alleges and proves, at trial or pretrial, that the conspiracy

continued into the limitations period. See Id.; United States v. Thompson, 125 F.Supp.2d 1297,

1302 (2000); United States v. Butler, 792 F.2d 1528 (11th Cir. 1986), United States v. Dolan, 120

F.3d 856 (8th Cir.1997). Further, on conspiracy charges which require listing of overt acts, the

statute of limitations is only satisfied if the last overt act alleged and proven occurs within the

limitations period. United States v. Stoner, 98 F.3d 527, 533 (10th Cir. 1996)(J. Briscoe,

dissenting), equally divided en banc, 139 F.3d 1343 (10th Cir. 1998); United States v.

Thompson, 125, F.Supp.2d 1297, 1302 (2000); United States v. Dolan, 120 F.3d 856, 864 (8th

Cir. 1997)(recognizing that “[t]he government, to prevent the indictment from being found

defective on its face, ‘must allege and prove the commission of at least one overt act by one of

the conspirators within [the five year] [limitation] period in furtherance of the conspiratorial

agreement.’”). Here, to satisfy the statue of limitations as to the conspiracy count, the

superceding indictment must set forth at least one act that occurred within the statue of limitation

period. The superceding indictment in this case fails to allege even a single specific act

involving Mr. Wilson in furtherance of the conspiracy that occurred within the five year statute

of limitations period and, therefore, the indictment should be dismissed.




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       WHEREFORE, for the reasons stated above, Mr. Wilson respectfully requests this

motion be granted and that the indictment in this matter be dismissed with prejudice. In the

alternative, Mr. Wilson requests a Bill of Particulars and a transcript of the grand jury

proceedings.

                                                        Respectfully submitted,


                                                        Electronically Filed 10/22/06
                                                        Robert J. Gorence, Esq.
                                                        Attorney for Defendant Wilson
                                                        Gorence &Oliveros, P.C.
                                                        201 12th Street NW
                                                        Albuquerque, NM 87102

      I hereby certify that a true and correct copy of the foregoing was faxed on this 23rd day of
October, 2006 to:

AUSA James R.W. Braun                                   PO Box 66985
PO Box 607                                              Albuquerque, NM 87193
Albuquerque, NM 87103                                   David A. Streubel
                                                        Kelley, Streubel & Mortimer LLC
Robert R. Cooper                                        315 5th Street, NW
1011 Lomas, NW                                          Albuquerque, NM 87102-2105
Albuquerque, NM 87102
                                                        John V. Butcher
Martin Lopez, III                                       Federal Public Defender’s Office
1500 Mountain Road, NW                                  111 Lomas Blvd., NW, #501
Albuquerque, NM 87104-1359                              Albuquerque, NM 87102

Brian A. Pori                                           D. Penni Adrian
204 Bryn Mawr, NE                                       4300 Carlisle Blvd., NE, #4
Albuquerque, NM 87106                                   Albuquerque, NM 87107

Jacquelyn Robins                                        Angela Arellanes
1905 Lomas Blvd., NW                                    PO Box 1784
Albuquerque, NM 87104                                   Albuquerque, NM 87103-1784

Cliff McIntyre                                          Bennett J. Baur
1500 Mountain Road, NW                                  Rothstein, Donatelli, Hughes, Dahlstrom,
Albuquerque, NM 87104                                    Schoenburg & Bienvenu
                                                        PO Box 8180
Kimberly A. Middlebrooks                                Santa Fe, NM 87504-8180

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Robert J. Gorence




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